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                         UNITED STATES DISTRICT COURT
                              Eastern District of Texas
                                 Sherman Division

     George Kenneth Schopp,                    §
                                               §
                         Plaintiff,            §
                                               § CA No.: 4:23-cv-568-SDJ
                                               §
     v.                                        §
                                               § Class Action
     National Debt Relief, LLC,                § Jury Demanded
                                               §
                        Defendant.             §

             JOINT ATTORNEY RULE 26(f) CONFERENCE REPORT

           Plaintiff and Defendant submit the following conference report.

    1. A brief factual and legal synopsis of the case.

           Response: Plaintiff brings this case as a class action. Plaintiff alleges that the
           Defendant or its representative placed pre-recorded marketing calls to
           Plaintiff’s residential cellular telephone number, registered with the National
           Do Not Call Registry, in violation of the Telephone Consumer Protection Act
           (“TCPA”) and Sections 305-053(a) of the Texas Business & Commerce Code
           and Section 302.101 of the Texas Business and Commerce Code. Plaintiff
           asserts claims individually and on behalf of 4 classes of individuals who
           allegedly received similar telephone calls from Defendant or its
           representative.


           Defendant denies the material allegations set forth in Plaintiff’s Complaint,
           including Plaintiff’s entitlement to damages, and disputes the contentions
           raised therein. Among other denials and defenses, Defendant asserts that (i)
           to the extent Plaintiff was called by a third party, such third party did not
           have authority from Defendant to make any such calls on behalf of
           Defendant, and (ii) to the extent Plaintiff can establish he was called by
           Defendant, such call would only have been initiated by Defendant pursuant
           to Plaintiff’s consent or established business relationship. Defendant further
           disputes any basis exists to convert the existing action into a nationwide




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            class action as, among other reasons, Plaintiff cannot establish the
            requirements of Federal Rule of Civil Procedure 23.


    2. The jurisdictional basis for this suit.

            Response: The Court has federal question jurisdiction under 28 U.S.C. §1331.
            Plaintiff is asserting claims under 47 U.S.C. §2274, the Telephone Consumer
            Protection Act. The Court has supplemental jurisdiction over the state law
            claim under 28 U.S.C. § 1367(a).

    3. A list of the correct names of the parties to this action and any anticipated
       additional or potential parties.

            Response: George Kenneth Schopp and National Debt Relief, LLC. Those
                      are the correct names of the parties Additional parties may be
                      added as defendants if discovery shows the identity of the
                      individuals making the calls at issue.

    4. A list of any cases related to this case pending in any state or federal court,
       identifying the case numbers and courts along with an explanation of the status of
       those cases.

            Response: None.

    5. Confirmation that the initial disclosures required by Rule 26(a)(1) and this Order
       have been completed.

            Response: Plaintiff’s Initial Rule 26(a)(1) disclosures are complete.
                      Defendant will exchange its Initial Rule 26(a)(1) by September 4,
                      2024

    6. Proposed scheduling order deadlines.

            Response: See the attached exhibit.




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    7. Description, in accordance with Rule 26(f), of the following:

            i. The subjects on which discovery may be needed, when discovery should
               be completed, and whether discovery should be conducted in phases or be
               limited to or focused on particular issues.

           Response:

           Plaintiff’s Response:

           Plaintiff proposes discovery regarding Defendant’s the call detail records, the
           Defendant’s policies and whether Defendant has consent to call the Plaintiff
           and the proposed class members.

           Plaintiff will file a motion for class certification after initial discovery has been
           conducted. Plaintiff, however, expects to meet an aggressive timetable for
           filing a motion for class certification, as TCPA cases are routinely certified as
           class actions.

           Defendant’s Response:

           Defendant seeks discovery from Plaintiff and/or third-parties on the
           following subjects: (1) user, subscriber, registrant, payor, and/ or owner
           information related to the cellular telephone at issue in the Complaint;
           (2) call data regarding calls to the cellular telephone at issue in the
           Complaint; (3) the allegations set forth in Plaintiff’s Complaint and any
           amendments thereto; (4) Plaintiff and/or any other putative class
           member’s relationship with Defendant (or any other third party
           allegedly acting on behalf of Defendant); (5) Plaintiff and/or any other
           putative class member’s consent to receive the call(s) alleged in the
           Complaint; (6) identification of witnesses; (7) Plaintiff and/or any other
           putative class member’s relationship with any third parties that may
           have relevant information concerning the allegations and affirmative
           defenses asserted in this action; (8) Plaintiff and/or any other putative
           class member’s registration on the national Do-Not-Call registry the
           phone system(s) used to allegedly call and send text messages to
           Plaintiff; and (9) a physical inspection of the cellular telephone at issue
           in the Complaint. Additionally, Defendant intends to obtain written
           discovery regarding, and the depositions of, any experts retained by
           Plaintiff in connection with Plaintiff’s claims.




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           ii. Any issues relating to disclosure or discovery of electronically stored
               information (“ESI”), including the form or forms in which it should be
               produced (whether native or some other reasonably useable format) as
               well as any methodologies for identifying or culling the relevant and
               discoverable ESI. Any disputes regarding ESI that counsel for the parties
               are unable to resolve during conference must be identified in the report.

              Response: The parties are not aware of any issues about disclosure,
              discovery, or preservation of electronically stored information requiring
              the Court’s attention at this time, but agree to address any such issues,
              in good faith, should it become necessary. Defendant agrees to produce
              relevant call detail records in native format.

          iii. Any agreements or disputes relating to asserting claims of privilege or
               preserving discoverable information, including ESI, and any agreements
               reached under FRE 502 (such as the potential need for a protective order
               and any procedures to which the parties might agree for handling
               inadvertent production of privileged information or other privilege waiver
               issues). A party asserting that any information is confidential should
               immediately apply to the court for entry of a protective order.

              Response: The parties are not aware of any issues about claims of
              privilege attention at this time. The parties anticipate discovery may seek
              confidential, trade secret, and/or commercially sensitive information of
              either party. The parties believe, in good faith, a protective order is
              necessary to protect such information and will negotiate, draft, and submit
              an appropriate order to the Court for consideration.

          iv. Any changes that should be made in the limitations on discovery imposed
              by the Rules, whether federal or local, and any other limitations that should
              be imposed.

              Response: Plaintiff requests no changes. Defendant requests no changes.




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            v. Whether any other orders should be entered by the court pursuant to
               Federal Rule of Civil Procedure 26(c) or Rule 16(b), (c).

               Response: Aside from the anticipated protective order addressed in
               Section 7(iii), the parties are unaware of any other orders that the Court
               should issue under Rule 26(c) or 16(f) at this time.

    8. State the progress made toward settlement, and the present status of settlement
       negotiations, including whether a demand and offer has been made. If the parties
       have agreed upon a mediator, also state the name, address, and phone number of
       that mediator, and a proposed deadline for mediation. An early date is encouraged
       to reduce expenses. The court will appoint a mediator if none is agreed upon.

               Response: Plaintiff is not in a position to discuss settlement until the size
               of the class is known.

    9. The identity of persons expected to be deposed.

               Response: Plaintiff, the individuals making the calls, Defendant’s
               corporate representative and individuals knowledgeable on Defendant’s
               telemarketing marketing policies and practices, and any witnesses
               identified in the course of discovery.

    10. Estimated trial time and whether a jury demand has been timely made.

                Response: 1-2 days. Plaintiff timely requested a trial by jury.

    11. The names of the attorneys who will appear on behalf of the parties at the
        management conference (the appearing attorney must be the lead counsel and
        have full authority to bind the client).

               Response: Chris Miltenberger for Plaintiff and Julie Moeller for
               Defendant.

    12. Whether the parties jointly consent to trial before a magistrate judge.

               Response: The parties do not jointly consent to trial before a magistrate
               judge.




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    13. Any other matters that counsel deem appropriate for inclusion in the joint
        conference report or that deserve the special attention of the Court at the
        management conference.

              Response: None at this time.



                                             Respectfully submitted,

                                             By:      /s/ Chris R. Miltenberger
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                                                    Texas Bar Number: 14171200


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                                          Attorneys for National Debt Relief,
                                          LLC

                                Certificate of Service

           The undersigned certifies that the foregoing document was filed
    electronically through the Court’s CM/ECF system in compliance with the Local
    Rules.


                                         By:     /s/ Chris R. Miltenberger
                                                  Chris R. Miltenberger




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